         Case 1:16-cr-00371-RA Document 760-1 Filed 05/17/19 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

United States of America

               v.                                                                     16 Cr. 371

Michelle Morton,
                           Defendant.



              Order re: Attorney-Client Privilege Waiver (Informed Consent)
       WHEREAS Defendant Michelle Morton has moved to withdraw her guilty plea on the

ground of ineffective assistance of counsel; and

       WHEREAS the Government, after reviewing the motion papers, has concluded that the

testimony of Petitioner’s former trial counsel, Gregory Morvillo and Savannah Stevenson

(“Counsel”), will be needed in order to allow the Government to respond to the motion; and

       WHEREAS the Court, after reviewing the motion papers, is satisfied that the testimony

of Counsel is needed in order to allow the Government to respond to the motion; and

       WHEREAS by making the motion, the movant has waived the attorney-client privilege

as a matter of law; and

       WHEREAS the Court is cognizant that, absent court order or informed consent, ethical

concerns may inhibit Counsel from disclosing confidential information relating to a prior client

even in the absence of a privilege, see, e.g., ABA Standing Comm. on Ethics and Prof.

Responsibility Formal Op. 10-456 (July 14, 2010), Disclosure of Information to Prosecutor

When Lawyer’s Former Client Brings Ineffective Assistance of Counsel Claim,
        Case 1:16-cr-00371-RA Document 760-1 Filed 05/17/19 Page 2 of 4




       IT IS HEREBY ORDERED that Counsel shall give sworn testimony, in the form of an

affidavit, addressing the allegations of ineffective assistance of counsel made by movant and

may discuss the same with the Government; and it is further

       ORDERED that Michelle Morton execute and return to this court within 60 days from

today’s date the accompanying “Attorney-Client Privilege Waiver (Informed Consent)” form. If

the document is not received by the court within 60 days from today’s date, the court will deny

the motion to withdraw Morton’s guilty plea, on the ground that the movant failed to authorize

the disclosure of information needed to permit the Government to respond to the motion.

Dated: New York, New York
       May 17, 2019


                                               _____________________________________
                                               UNITED STATES DISTRICT JUDGE




                                               2
        Case 1:16-cr-00371-RA Document 760-1 Filed 05/17/19 Page 3 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

United States of America

               v.                                                                     16 Cr. 371

Michelle Morton,
                           Defendant.


                    Attorney-Client Privilege Waiver (Informed Consent)
To: Michelle Morton

You have made a motion to withdraw your guilty plea on the ground that you received
ineffective assistance from your former lawyers, Gregory Morvillo and Savannah Stevenson
(referred to in this form as “your former attorneys”). The court has reviewed your papers and
determined that it needs to have a sworn testimonial statement from your former attorneys in
order to evaluate your motion.

By making this motion, you have waived the attorney-client privilege you had with your former
attorneys to the extent relevant to determining your claim. This means that if you wish to press
your claim of ineffective assistance, you cannot keep the communications between yourself and
your former attorneys a secret—you must allow them to be disclosed to the Government and to
the Court pursuant to court order. The court has already issued an Order (copy attached) ordering
your former attorneys to give such testimony, in the form of an affidavit, and permitting them to
discuss your allegations with the Government. This Informed Consent form is designed to ensure
that you fully understand and agree to this.

Specifically, if you wish to proceed with your motion to set aside your conviction on the basis
that you received ineffective assistance of counsel, you must sign this statement and return it to
the court in the attached envelope (keeping a copy for your records). The form constitutes your
authorization to your former attorneys to disclose confidential communications (1) only in
response to a court order and (2) only to the extent necessary to shed light on the allegations of
ineffective assistance of counsel that are raised by your motion.

You should know that if you sign this authorization, you run the risk that your former attorneys
will contradict your statements about their representation of you. However, you should also
know that the court will deny your motion if you do not authorize your former attorneys to give
an affidavit and otherwise discuss your allegations in response to the Court’s attached Order.
        Case 1:16-cr-00371-RA Document 760-1 Filed 05/17/19 Page 4 of 4




You must return this form, signed by you and notarized, within sixty (60) days from the date of
the Court’s Order directing your former lawyer to give testimony. If the Court does not receive
this form, signed by you and notarized, within that time, the court will automatically deny your
motion.

NOTARIZED AUTHORIZATION

I have read the Court’s Order dated ___________ and this document headed Attorney-Client
Privilege Waiver (Informed Consent). I hereby authorize my former attorneys Gregory Morvillo
and Savannah Stevenson, Esq., to comply with the Court’s Order by giving testimony, in the
form ordered by the court, relating to my motion to set aside my conviction on the ground of
ineffective assistance of counsel. This authorization allows my former attorney to testify only
pursuant to court order, and only to the extent necessary to shed light on the allegations of
ineffective assistance of counsel that are raised by my motion.

Dated: ________________________

       ________________________



Sworn to before me this _____ day of _______________, 20___

_____________________________________
Notary Public




                                             2
                   Attorney-Client Privilege Waiver (Informed Consent)
